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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA,                                   )
                                                    )
                 Plaintiff,                         )
                                                    )
         v.                                         )   Case No. 3:23-cv-00007-SLG
                                                    )
 BRYAN NEWLAND et al.,                              )
                                                    )
                 Defendants,                        )
                                                    )
         and                                        )
                                                    )
 CENTRAL COUNCIL OF TLINGIT &                       )
 HAIDA INDIAN TRIBES OF                             )
 ALASKA,                                            )
                                                    )
                 Intervenor-Defendant.              )


               NOTICE TO COURT REGARDING ORAL ARGUMENT

        Intervenor-Defendant Central Council of the Tlingit & Haida Indian Tribes of

Alaska (Tlingit & Haida) gives notice to the Court that for the oral argument scheduled on

May 6, 2024, the Defendants and Intervenor-Defendant propose to share their allotted


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twenty minutes as follows, absent any other preferences from the Court: 15 minutes for the

United States and 5 minutes for Tlingit & Haida.

        DATED this 25th day of April 2024, at Anchorage, Alaska.

                                                SONOSKY, CHAMBERS, SACHSE
                                                 MILLER & MONKMAN, LLP


                                                By:   /s/ Whitney A. Leonard
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               Certificate of Service

I certify that on April 25, 2024, a copy of the
foregoing document was served via ECF on:

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